                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

IN RE:

M.T.G., INC., d/b/a MATRIX                                    Case No. 95-48268
TECHNOLOGIES GROUP,                                           Chapter 7
                                                              Judge Thomas J. Tucker
                               Debtor.


GUY C. VINING, etc.,

                               Plaintiff,                     Adv. No. 03-4950

v.

COMERICA BANK, et al.,

                               Defendants.


                    OPINION AND ORDER REGARDING JURY TRIAL
                    AND “STERN v. MARSHALL”-RELATED ISSUES

         The Court has been holding a hearing on the parties’ motions for summary judgment.

The six motions being heard are listed in the Court’s Notice of Hearing, filed November 13, 2015

(Docket # 659). The most recent hearing session was held on May 11, 2016, and the next such

session is scheduled for June 1, 2016.

         In the meantime, the Court has concluded that there are some loose ends that need

attention, relating to (1) Defendants’ consents to the Plaintiff Trustee’s withdrawal of his demand

for jury trial; and (2) the consent (or lack of consent) of the parties to the Bankruptcy Court

entering a final order or judgment in this adversary proceeding, as to any of the Plaintiff

Trustee’s claims that are statutory non-core proceedings, or that must be treated as statutory non-

core proceedings under applicable United States Supreme Court precedent. The purpose of this



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Opinion and Order is to identify and tie up such loose ends.

I. The jury trial issue

       The Plaintiff Trustee originally demanded a jury trial on all of his claims in this adversary

proceeding. Later, the Plaintiff purported to withdraw his jury demand. Such a withdrawal is

effective if all parties consent to it. See Fed. R. Civ. P. 38(d), made applicable to this adversary

proceeding by Fed. R. Bankr. P. 9015(a) (“[a] proper [jury] demand may be withdrawn only if

the parties consent.”). The issue now is whether all of the Defendants have so consented.

       The Court concludes that every remaining Defendant in this adversary proceeding has

expressly consented to the withdrawal of Plaintiff’s jury demand.

       This conclusion is based on the following review of the record.

1. The Plaintiff Trustee timely demanded a jury trial on all of the claims in his complaint.1 No
   other party filed a jury demand.

2. On June 20, 2007, the Plaintiff and the Defendants in this adversary proceeding filed separate
   reports, entitled “Report of Parties’ Rule 26(f) Conference.”2 In their Rule 26(f) Report, the
   Defendants stated that a jury trial was timely demanded and not waived, and that the parties
   consented to the Bankruptcy Court conducting the jury trial.3 The Plaintiff’s separate Rule
   26(f) Report did not mention the jury trial issue,4 but during the June 25, 2007 scheduling
   conference, the Plaintiff expressly consented to the Bankruptcy Court conducting any jury
   trial.5

3. On July 16, 2008, the Court entered an order entitled: “Order Granting in Part and Denying in




       1
           Docket # 1.
       2
           Docket ## 69, 70 (collectively, the “Rule 26(f) Reports”).
       3
           Defs.’ Rule 26(f) Report (Docket # 69) at 4.
       4
           Pl.’s Rule 26(f) Report (Docket # 70).
       5
           See Adv. Pro. Scheduling Order (Docket # 71) at 2-3.

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   Part ‘Comerica Defendants’ Motion to Strike Jury Demand’ (Docket # 168),”6 which struck
   Plaintiff’s jury demand as to the Pre-Petition Claims (Counts XV through XXI of Plaintiff’s
   complaint). The July 16, 2008 Order did not strike the jury demand for the Post-Petition
   Claims (Counts I through XIV of Plaintiff’s complaint).

4. On October 28, 2008, Defendants Comerica Bank, Michael Collins, Paul Dufault, Steven
   Lyons and Ronald Marcinelli (collectively, the “Comerica Defendants”), filed a motion to
   strike the jury demand with respect to the Plaintiff’s Post-Petition Claims.7

5. On November 4, 2008, Defendants Charles J. Taunt and Charles J. Taunt & Associates, P.C.
   (collectively, the “Taunt Defendants”), filed a motion to strike the Trustee’s jury demand.8

6. On November 13, 2008, the Plaintiff filed a response to each of the motions referred to in ¶¶
   4-5 above, in which the Plaintiff stated that he was withdrawing his jury demand.9

7. Also on November 13, 2008, the Plaintiff filed a document entitled “Notice of Withdrawal of
   Trustee’s Demand for Jury Trial,” stating that “[t]he Trustee hereby withdraws his demand
   for a jury trial in this action.”10

8. As the Court noted in an Order filed on December 17, 2008:

                 Plaintiff seeks to withdraw his jury demand. (See the items filed by
                 Plaintiff at Docket ## 268, 269, and 270.) During the December
                 17, 2008 hearing, all defendants through their counsel, except
                 Richard May (who Plaintiff claims has defaulted and who has
                 not appeared in this case) and Plunkett & Cooney, P.C.
                 consented to the Plaintiff’s withdrawal of his jury demand
                 under Fed.R.Civ.P. 38(d), which applies in this adversary
                 proceeding under Fed.R.Bankr.P. 9015(a). No later than December
                 24, 2008, Defendant Plunkett & Cooney, P.C. must file a statement
                 indicating whether or not it consents to Plaintiff’s withdrawal of
                 his jury demand.11


       6
            Docket # 209, the “July 16, 2008 Order.”
       7
            Docket # 248.
       8
            Docket # 262.
       9
            Docket ## 268, 269.
       10
            Docket # 270.
       11
            Further Scheduling Order, etc. (Docket # 292) at 2, ¶ 6 (emphasis added).

                                                       3



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9. The transcript of the December 17, 2008 hearing confirms that during that hearing, counsel
   for every Defendant except Plunkett & Cooney, P.C. (“Plunkett & Cooney”) and the
   defaulted defendant Richard May expressly consented to the withdrawal of Plaintiff’s jury
   demand.12

10.   On December 23, 2008, Plunkett & Cooney sought and obtained an order granting it an
      extension of time, until January 7, 2009, to file a statement regarding consent to the
      withdrawal of Plaintiff's jury demand.13

11.   On January 7, 2009, Plunket & Cooney filed a document in the main bankruptcy case,
      entitled “Notice That Plunkett & Cooney Will Consent to the Trustee’s Waiver of Jury
      Demand.”14 By filing this document, Plunkett & Cooney expressed its consent to the
      withdrawal of Plaintiff’s jury demand.

12.   By an order filed on January 13, 2009, however, the document just referred to was stricken,
      because it was filed in the main bankruptcy case, rather than in the adversary proceeding.
      (It was obviously intended to be filed in the adversary proceeding; it had the adversary
      proceeding caption on it, and concerned the Plaintiff’s jury demand in the adversary
      proceeding.) It appears that Plunkett & Cooney never filed the document in the adversary
      proceeding. The Court attaches to this Order a copy of this document, so that it will be in
      the record of this adversary proceeding. The Court finds Plunkett & Cooney’s consent,
      expressed in the January 7, 2009 Notice, which is refiled as an attachment to this Order, to
      be effective, even though that document was stricken from the main bankruptcy case.

13.   After Plunkett & Cooney filed its notice of consent to the withdrawal of Plaintiff’s jury
      demand, all of the parties have agreed and assumed that the Plaintiff’s jury trial demand is
      effectively withdrawn, and that any trial in this adversary proceeding will be a bench trial.
      For example, at a hearing held on September 1, 2010, attended by counsel for every party
      (the Plaintiff, the Comerica Defendants, the Taunt Defendants, Plunkett & Cooney, and
      American Casualty Company of Reading PA (“American Casualty”)), two of the attorneys
      for the Plaintiff and an attorney for the Comerica Defendants stated that there is no longer a
      jury trial in this case.15 No other attorney contradicted or disputed these statements during
      the hearing.

       Based on the foregoing, the Court concludes that every party in this adversary proceeding


       12
            Tr. of December 17, 2008 hearing (Docket # 382) at 52-57.
       13
            Docket ## 308, 309.
       14
            Case No. 95-48268, Docket # 1522.
       15
            Tr. of September 1, 2010 hearing (Docket # 471) at 116.

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consented to the withdrawal of the Plaintiff’s jury demand. As a result, that withdrawal is

effective, and any trial that occurs in this adversary proceeding will be a bench trial, not a jury

trial.

II. Consent to the Bankruptcy Court entering a final judgment or order

         In the original Rule 26(f) Reports filed on June 20, 2007, discussed in numbered

paragraph 2 above, the Plaintiff took the position that this adversary proceeding is a core

proceeding, without differentiating among the many counts in Plaintiff’s complaint.16 In their

Rule 26(f) Report, on the other hand, the Defendants took the position that this adversary

proceeding is a non-core proceeding, also without differentiating among the many counts in the

Plaintiff’s complaint.17

         In determining whether a proceeding is core or non-core, within the meaning of 28 U.S.C.

§ 157, the Court must make such determination on a claim-by-claim basis. Some claims may be

core and some claims may not be core, in the same proceeding. See Waldman v. Stone, 698 F.3d

910, 921 (6th Cir. 2012) (citing In re Exide Techs., 544 F.3d 196, 206 (3d Cir.2008)) (“Whether

a proceeding is core is determined on a claim-by-claim basis.”); Bliss Techs., Inc. v. HMI Indus.,

Inc. (In re Bliss Techs., Inc.), 307 B.R. 598, 603 (Bankr. E.D. Mich. 2004).

         In this adversary proceeding, the Court has not yet made such a determination. It will not

be necessary to do so, if all of the parties consent to the Bankruptcy Court entering a final

judgment or final order in the adversary proceeding. See generally 28 U.S.C. § 157(c)(2).

         To date, some but not all of the parties have so consented. As the Court noted in the


         16
              Pl.’s Rule 26(f) Report (Docket # 70) at 3.
         17
              Defs.’ Rule 26(f) Report (Docket # 69) at 4.

                                                       5



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Adversary Proceeding Scheduling Order filed on June 25, 2007,

                 During the June 25, 2007 scheduling conference the Plaintiff, the
                 Comerica [D]efendants, and Defendant Miller Canfield expressly
                 consented to a reference to the bankruptcy court for trial and entry
                 of final judgment on any non-core matters under 28 U.S.C. §
                 157(c)(2). If the remaining parties wish to so consent, they must
                 file a stipulation or notice expressing such consent no later than
                 July 28, 2008.18

Later, in a document filed on October 28, 2008, the Taunt Defendants stated that they do not

consent to the Bankruptcy Court entering a final judgment under § 157(c)(2).19 It appears that

Defendants Plunkett & Cooney and American Casualty did not file any document stating whether

or not they consent under § 157(c)(2), so they are deemed currently not to consent.

       After the events of 2007 and 2008 discussed above, the legal landscape regarding a

bankruptcy court’s authority to enter final judgments and orders changed, because of the United

States Supreme Court’s decisions in Stern v. Marshall and later cases. See Stern v. Marshall,

131 S. Ct. 2594, 2601, 2620 (2011) (holding that bankruptcy courts lack constitutional authority

to enter final orders and judgments on certain types of claims that are designated as “core”

proceedings under 28 U.S.C. § 157(b)(2)); Exec. Benefits Ins. Agency v. Arkison, 134 S. Ct.

2165, 2168 (2014) (holding that, consistent with the Constitution, bankruptcy courts can

adjudicate Stern claims as “non-core” proceedings, and enter “proposed findings of fact and

conclusions of law to be reviewed de novo by the district court”); Wellness Int’l Nework, Ltd. v.

Sharif, 135 S. Ct. 1932, 1948-49 (2015) (holding that “Article III [of the Constitution] permits

bankruptcy courts to decide Stern claims submitted to them by consent” and that consent need


       18
            Docket # 71 at 3 ¶ 14.
       19
            Docket # 245.

                                                   6



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not be express but may be implied “based on ‘actions rather than words.’”).

          In the wake of the Stern, Arkison, and Wellness cases just cited, there are three classes of

claims:

(1) claims that are defined as “core” proceedings by 28 U.S.C. §§ 157(b)(1) and 157(b)(2),20 on

which bankruptcy courts have both statutory and constitutional authority to enter final judgments

under Stern;

(2) claims that are defined as “core” proceedings by 28 U.S.C. §§ 157(b)(1) and 157(b)(2), but on

which bankruptcy courts do not have constitutional authority to enter final judgments under

Stern, absent consent of all the parties as permitted under Wellness (referred to below as “Stern-

core claims”); and

(3) claims that are defined as non-core proceedings under 28 U.S.C. §§ 157(b) and 157(c), on

which bankruptcy courts do not have statutory or constitutional authority to enter final

judgments, absent consent of all the parties as permitted under 28 U.S.C. § 157(c)(2).

          In the Arkison case, cited above, the Supreme Court held that claims of the type described

in item (2) above are to be treated like claims of the type described in item (3) above (i.e., as non-

core claims subject to the procedures of 28 U.S.C. § 157(c).) Exec. Benefits Ins. Agency v.

Arkison, 134 S. Ct. at 2173. Thus, with respect to claims of the type described in both item (2)

and item (3) above (Stern-core claims and statutory non-core claims), the following procedures

apply, under 28 U.S.C. § 157(c): if all parties consent to the bankruptcy court entering a final

judgment on such claims, under § 157(c)(2), then the bankruptcy court may do so; otherwise, the


          20
           For more on what types of claims are statutorily-defined core claims under §§ 157(b)(1) and
157(b)(2), see, e.g., Madden v. Morelli (In re Energy Conversion Devices, Inc.), 548 B.R. 208, 214-15
(2016).

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bankruptcy court must follow the procedure of § 157(c)(1), and submit proposed findings of fact

and conclusions of law to the district court, for the de novo review described in § 157(c)(1).

       In light of the fact that bankruptcy courts have the statutory and constitutional authority to

enter final orders and judgments on both non-core and Stern-core claims with the consent of all

of the parties, this Court’s model form entitled “Report of Parties’ Rule 26(f) Conference”21 now

includes the following choices, which parties are expected to make:

                 [ ]      The parties consent to the Bankruptcy Court entering a final

                 order or judgment in this proceeding; or

                 [ ]      The parties do not consent to the Bankruptcy Court entering

                 a final order or judgment in this proceeding.

       Under the circumstances, and in this post-Stern legal landscape, the Court deems it

necessary, fair, and appropriate to require the parties now to state whether or not they consent to

the Bankruptcy Court entering a final order or final judgment in this adversary proceeding, with

respect to any Stern-core claims and any non-core claims. The Court has no preference

whatsoever as to what choice(s) the parties make — the Court will adapt to whatever choice(s)

the parties make. But the parties need to make a choice. The Court will set a deadline by which

the parties must express their choice.

III. Conclusion and Order

       For the reasons stated above,

       IT IS ORDERED that:

1. Plaintiff’s jury demand is deemed withdrawn, so that any trial in this adversary proceeding


       21
            This form is available on the Court’s website, under “Forms”/“All Local Forms.”

                                                    8



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will be a bench trial, rather than a jury trial.

2. No later than June 24, 2016, Plaintiff and each of the Defendants must file a statement

regarding consent, which answers the following question:

                In response to the Court’s Order filed May 27, 2016, do you
                consent, under 28 U.S.C. § 157(c)(2) and under Wellness Int’l
                Nework, Ltd. v. Sharif, 135 S. Ct. 1932 (2015), to the Bankruptcy
                Court entering a final judgment or final order in this adversary
                proceeding on any and all claims that are Stern-core claims or that
                are statutory non-core claims?

3. Any party that does not timely file a statement of the type described in paragraph 2 above will

be deemed not to so consent.


Signed on May 27, 2016                                 /s/ Thomas J. Tucker
                                                       Thomas J. Tucker
                                                       United States Bankruptcy Judge




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